  8:14-cr-00036-LSC-FG3            Doc # 39   Filed: 05/30/14    Page 1 of 1 - Page ID # 75




                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,                       )
                                                )
                      Plaintiff,                )
                                                )                  8:14CR36
       vs.                                      )
                                                )                   ORDER
                                                )
JULIA WHITESKUNK,                               )
                                                )
                      Defendant.                )


      This matter is before the court on defendant’s unopposed motion to continue trial [38]
as counsel needs additional time to investigate and prepare for trial. The court finds good
cause being shown and the trial shall be continued. The defendant has previously complied
with NECrimR 12.1(a).

       IT IS ORDERED that the motion to continue trial is granted, as follows:

       1. The jury trial now set for June 10, 2014 is continued to August 26, 2014.

        2. In accordance with 18 U.S.C. § 3161(h)(7)(A), the court finds that the ends of justice
will be served by granting this continuance and outweigh the interests of the public and the
defendant in a speedy trial. Any additional time arising as a result of the granting of this
motion, that is, the time between today’s date and August 26, 2014, shall be deemed
excludable time in any computation of time under the requirement of the Speedy Trial Act.
Failure to grant a continuance would deny counsel for the defendant the reasonable time
necessary for effective preparation, taking into account the exercise of due diligence. 18
U.S.C. § 3161(h)(7)(A) & (B)(iv).

       DATED May 30, 2014.

                                              BY THE COURT:

                                              s/ F.A. Gossett
                                              United States Magistrate Judge
